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7
8
                                UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
10
11      Antonio Fernandez                       Case No.

12                Plaintiff,
                                                Complaint For Damages And
13        v.                                    Injunctive Relief For Violations
                                                Of: Americans With Disabilities
14      Industry Plaza Inc., a California       Act; Unruh Civil Rights Act
        Corporation;
15
        Ziad Diab
16
                  Defendant.
17
18
            Plaintiff Antonio Fernandez complains of Industry Plaza Inc., a
19
      California Corporation; Ziad Diab; and alleges as follows:
20
21
        PARTIES:
22
        1. Plaintiff is a California resident with physical disabilities. He is
23
      paralyzed from the waist down and uses a wheelchair for mobility.
24
        2. Defendant Industry Plaza Inc. owned the real property located at or
25
      about 15229 Gale Ave, City of Industry, California, in September 2020.
26
        3. Defendant Industry Plaza Inc. owns the real property located at or about
27
      15229 Gale Ave, City of Industry, California, currently.
28
        4. Defendant Ziad Diab owned Turnbull Canyon Liquor located at or

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1     about 15229 Gale Ave, City of Industry, California, in September 2020.
2       5. Defendant Ziad Diab owns Turnbull Canyon Liquor (“Store”) located at
3     or about 15229 Gale Ave, City of Industry, California, currently.
4       6. Plaintiff does not know the true names of Defendants, their business
5     capacities, their ownership connection to the property and business, or their
6     relative responsibilities in causing the access violations herein complained of,
7     and alleges a joint venture and common enterprise by all such Defendants.
8     Plaintiff is informed and believes that each of the Defendants herein is
9     responsible in some capacity for the events herein alleged, or is a necessary
10    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
11    the true names, capacities, connections, and responsibilities of the Defendants
12    are ascertained.
13
14      JURISDICTION & VENUE:
15      7. The Court has subject matter jurisdiction over the action pursuant to 28
16    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
17    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
18      8. Pursuant to supplemental jurisdiction, an attendant and related cause
19    of action, arising from the same nucleus of operative facts and arising out of
20    the same transactions, is also brought under California’s Unruh Civil Rights
21    Act, which act expressly incorporates the Americans with Disabilities Act.
22      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
23    founded on the fact that the real property which is the subject of this action is
24    located in this district and that Plaintiff's cause of action arose in this district.
25
26      FACTUAL ALLEGATIONS:
27      10. Plaintiff went to the Store in September 2020 with the intention to avail
28    himself of its goods and to assess the business for compliance with the


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1     disability access laws.
2       11. The Store is a facility open to the public, a place of public
3     accommodation, and a business establishment.
4       12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
5     to provide wheelchair accessible paths of travel in conformance with the ADA
6     Standards as it relates to wheelchair users like the plaintiff.
7       13. The Store provides paths of travel to its customers but fails to provide
8     wheelchair accessible paths of travel.
9       14. A problem that plaintiff encountered is that the paths of travel inside the
10    Store were too narrow.
11      15. Plaintiff believes that there are other features of the paths of travel that
12    likely fail to comply with the ADA Standards and seeks to have fully compliant
13    paths of travel for wheelchair users.
14      16. On information and belief, the defendants currently fail to provide
15    wheelchair accessible paths of travel.
16      17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
17    provide wheelchair accessible sales counters in conformance with the ADA
18    Standards as it relates to wheelchair users like the plaintiff.
19      18. The Store provides sales counters to its customers but fails to provide
20    wheelchair accessible sales counters.
21      19. One problem that plaintiff encountered is that the sales counter was too
22    high. There was no counter that was 36 inches or less that plaintiff could use
23    for his transactions.
24      20. Plaintiff believes that there are other features of the sales counters that
25    likely fail to comply with the ADA Standards and seeks to have fully compliant
26    sales counters for wheelchair users.
27      21. On information and belief, the defendants currently fail to provide
28    wheelchair accessible sales counters.


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1       22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
2     personally encountered these barriers.
3       23. As a wheelchair user, the plaintiff benefits from and is entitled to use
4     wheelchair accessible facilities. By failing to provide accessible facilities, the
5     defendants denied the plaintiff full and equal access.
6       24. The failure to provide accessible facilities created difficulty and
7     discomfort for the Plaintiff.
8       25. The defendants have failed to maintain in working and useable
9     conditions those features required to provide ready access to persons with
10    disabilities.
11      26. The barriers identified above are easily removed without much
12    difficulty or expense. They are the types of barriers identified by the
13    Department of Justice as presumably readily achievable to remove and, in fact,
14    these barriers are readily achievable to remove. Moreover, there are numerous
15    alternative accommodations that could be made to provide a greater level of
16    access if complete removal were not achievable.
17      27. Plaintiff will return to the Store to avail himself of its goods and to
18    determine compliance with the disability access laws once it is represented to
19    him that the Store and its facilities are accessible. Plaintiff is currently deterred
20    from doing so because of his knowledge of the existing barriers and his
21    uncertainty about the existence of yet other barriers on the site. If the barriers
22    are not removed, the plaintiff will face unlawful and discriminatory barriers
23    again.
24      28. Given the obvious and blatant nature of the barriers and violations
25    alleged herein, the plaintiff alleges, on information and belief, that there are
26    other violations and barriers on the site that relate to his disability. Plaintiff will
27    amend the complaint, to provide proper notice regarding the scope of this
28    lawsuit, once he conducts a site inspection. However, please be on notice that


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1     the plaintiff seeks to have all barriers related to his disability remedied. See
2     Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
3     encounters one barrier at a site, he can sue to have all barriers that relate to his
4     disability removed regardless of whether he personally encountered them).
5
6     I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
7     WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
8     Defendants.) (42 U.S.C. section 12101, et seq.)
9       29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
10    again herein, the allegations contained in all prior paragraphs of this
11    complaint.
12      30. Under the ADA, it is an act of discrimination to fail to ensure that the
13    privileges, advantages, accommodations, facilities, goods and services of any
14    place of public accommodation is offered on a full and equal basis by anyone
15    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
16    § 12182(a). Discrimination is defined, inter alia, as follows:
17             a. A failure to make reasonable modifications in policies, practices,
18                 or procedures, when such modifications are necessary to afford
19                 goods,     services,   facilities,   privileges,    advantages,     or
20                 accommodations to individuals with disabilities, unless the
21                 accommodation would work a fundamental alteration of those
22                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
23             b. A failure to remove architectural barriers where such removal is
24                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
25                 defined by reference to the ADA Standards.
26             c. A failure to make alterations in such a manner that, to the
27                 maximum extent feasible, the altered portions of the facility are
28                 readily accessible to and usable by individuals with disabilities,


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1                  including individuals who use wheelchairs or to ensure that, to the
2                  maximum extent feasible, the path of travel to the altered area and
3                  the bathrooms, telephones, and drinking fountains serving the
4                  altered area, are readily accessible to and usable by individuals
5                  with disabilities. 42 U.S.C. § 12183(a)(2).
6       31. When a business provides paths of travel, it must provide accessible
7     paths of travel.
8       32. Here, accessible paths of travel have not been provided in conformance
9     with the ADA Standards.
10      33. When a business provides facilities such as sales or transaction counters,
11    it must provide accessible sales or transaction counters.
12      34. Here, accessible sales or transaction counters have not been provided in
13    conformance with the ADA Standards.
14      35. The Safe Harbor provisions of the 2010 Standards are not applicable
15    here because the conditions challenged in this lawsuit do not comply with the
16    1991 Standards.
17      36. A public accommodation must maintain in operable working condition
18    those features of its facilities and equipment that are required to be readily
19    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
20      37. Here, the failure to ensure that the accessible facilities were available
21    and ready to be used by the plaintiff is a violation of the law.
22
23    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
24    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
25    Code § 51-53.)
26      38. Plaintiff repleads and incorporates by reference, as if fully set forth
27    again herein, the allegations contained in all prior paragraphs of this
28    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,


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1     that persons with disabilities are entitled to full and equal accommodations,
2     advantages, facilities, privileges, or services in all business establishment of
3     every kind whatsoever within the jurisdiction of the State of California. Cal.
4     Civ. Code §51(b).
5        39. The Unruh Act provides that a violation of the ADA is a violation of the
6     Unruh Act. Cal. Civ. Code, § 51(f).
7        40. Defendants’ acts and omissions, as herein alleged, have violated the
8     Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
9     rights to full and equal use of the accommodations, advantages, facilities,
10    privileges, or services offered.
11       41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
12    discomfort or embarrassment for the plaintiff, the defendants are also each
13    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
14    (c).)
15
16              PRAYER:
17              Wherefore, Plaintiff prays that this Court award damages and provide
18    relief as follows:
19            1. For injunctive relief, compelling Defendants to comply with the
20    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
21    plaintiff is not invoking section 55 of the California Civil Code and is not
22    seeking injunctive relief under the Disabled Persons Act at all.
23            2. Damages under the Unruh Civil Rights Act, which provides for actual
24    damages and a statutory minimum of $4,000 for each offense.
25            3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
26    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
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      Dated: January 14, 2021       CENTER FOR DISABILITY ACCESS
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4                                   By: ________________________
5                                         Russell Handy, Esq.
                                          Attorney for plaintiff
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